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   1      stopping a medicine that's known to have myocyte
   2      toxicity because it's unsafe to continue in
   3      somebody with heart failure.
   4              Q.        Why do you feel that Enbrel would not
   5      be the cause of the non-ischemic heart disease?
   6              A.        So again, that's something I would
   7      actually send somebody to a cardiologist to
   8      evaluate.         The causes of non-ischemic heart
   9      disease, there is a lot of things that could do
 10       it and in a patient that has preexisting
 11       conditions, like hypertension, OSA, it would be
 12       really hard to say with certainty what caused
 13       his heart failure if it's non-ischemic.                         That's
 14       really a question for a cardiologist.
 15               Q.        In your opinion can Enbrel be a
 16       contributing factor even if it wasn't the cause?
 17                       MR. KAUFMAN:
 18                               Same objection.
 19       EXAMINATION BY MS. VASQUEZ:
 20               Q.        You can answer.
 21               A.        Again, I would probably refer to a
 22       cardiologist to consider any causes of
 23       non-ischemic cardiomyopathy.
 24               Q.        Would it be fair to say that it was
 25       some factor to you, because you mentioned Enbrel


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   1      in your notes?
   2                      MR. KAUFMAN:
   3                              Objection.
   4                      THE WITNESS:
   5                              Like I said before, there is a
   6               documented association with myocyte
   7               toxicity and the recommendations from the
   8               specialists, including cardiology and
   9               rheumatology, were to stop that medication
 10                so that it couldn't cause or be in any
 11                way -- so that moving forward it couldn't
 12                contribute to any worsening cardiac
 13                functioning.
 14       EXAMINATION BY MS. VASQUEZ:
 15               Q.        And you said that there were some
 16       other causes of non-ischemic heart failure such
 17       as -- and you listed a couple of them.                          Can you
 18       go --
 19               A.        Well, again, it's something I would
 20       refer to a cardiologist for.                     I just want to be
 21       very clear that I'm not a cardiologist, but I
 22       can sometimes take care of patients who have
 23       cardiac diseases.              I oftentimes do that in
 24       correlation with a cardiologist or a heart
 25       failure specialist depending.


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